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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

MAUREEN O'DW'YER ET AL. CIVIL ACTION

VERSUS NO. 05-4181

THE UNITED STATES OF AMERICA ET AL. SECTION "K”" (2)
ORDER ON MOTION

APPEARANCES: None (on the briefs)

MOTION: Plaintiffs’ Motion for Leave to File Twelfth (12th) Supplemental and
Amending Complaint, Record Doc. No. 143
ORDERED:

XXX_: DENIED IN PART and DISMISSED WITHOUT PREJUDICE IN PART.
Plaintiffs' motion is dismissed without prejudice to whatever extent, if any, it seeks to
amend its claims as to Aaron Broussard and Jefferson Parish. Plaintiffs’ claims against
Aaron Broussard and Jefferson Parish have been severed, allotted a new case number, and
assigned to another magistrate judge. Record Doc. No. 175. Inthe new case, Civil Action
No. 06-1640 "K" (3), plaintiffs have been ordered by Judge Duval, no later than April 20,
2006, to "file one final amended complaint . . . limited exclusively to the claims asserted
against Aaron Broussard and Jefferson Parish... ." Record Doc. No. 11 in Civil Action
No. 06-1640 "K" (3). Any amendment that relates to the severed case should be asserted
in that case in compliance with Judge Duval's order.

In all other respects, the motion is denied. Although the policy of the Federal Rules
of Civil Procedure is liberal in favor of permitting amendment of pleadings, and the trial
court’s discretion is not broad enough to permit denial of leave to amend “unless there is

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a substantial reason" to do so, Dussouy v. Gulf Coast Investment Corp., 660 F.2d 594, 598
(5th Cir. 1981), leave to amend "is by no means automatic." Wimm v. Jack Eckerd Corp.,
3 F.3d 137, 139 (Sth Cir. 1993) (quotation omitted). Relevant factors to consider include
"undue delay, bad faith or dilatory motive on the part of the movant, repeated failure to
cure deficiencies by amendments previously allowed, undue prejudice to the opposing
party, and futility of amendment." Id. Balancing these factors in this instance militates
in favor of denying the motion, especially where numerous previous amendments have
already been permitted.

In addition, in this case Magistrate Judge Knowles, in considering the prior of
these plaintiffs’ numerous previous motions for leave to file amendments, orally ordered
that no further amendments would be permitted without a showing of good cause. Fed.
R. Civ. P. 16(b). Under Rule 16(b), "[iJn determining good cause, we consider four
factors: '(1) the explanation for the failure to timely move for leave to amend; (2) the
importance of the amendment; (3) potential prejudice in allowing the amendment; and
(4) the availability of a continuance to cure such prejudice." Southwestern Bell Tel, Co.
v. City of El Paso, 346 F.3d 541, 546 (Sth Cir. 2003) (citing Fed. R. Civ. P. 16(b);
quoting § & W Enters., 315 F.3d at 535).

In this instance, no persuasive explanation for plaintiffs’ need to amend their
complaint for a twelfth time, particularly after Judge Knowles's order concerning the last
amendment, has been offered. The amendment does not appear important. This is an
alleged class action in which more thana sufficient number of putative class representatives
have already been named, so that adding more is unnecessarily redundant. This case is
significantly unlike the separate Ingram Barge case in this court, upon which plaintiff relies
so heavily in his supplemental memorandum, in that this case does not involve an admiralty
limitation proceeding. The additional jurisdictional allegations appear to have no bearing
on the pending motions in this case. The prejudice to resolution of the pending motions and
moving this case forward in permitting the seemingly endless amendments proffered by
these plaintiffs is patent. I have no doubt that if Judge Duval finds that yet another
amendment may cure the alleged defects in plaintiffs’ case that are the subject of the
pending motions, he will grant time to do so.

New Orleans, Louisiana, this 12th day of April, 2006.

UNITED STATES MAGISTRATE JUDGE

